Case 8:15-cv-00585-CJC-JPR Document 62 Filed 05/08/15 Page 1 of 19 Page ID #:7959


    1   Thomas J. Borchard, Esq., SBN: 104008
        tborchard@borchardlaw.com
    2   Janelle M. Dease, Esq., SBN: 226198
    3   jdease@borchardlaw.com
        Sabrina C. Narain, Esq., SBN: 299471
    4   snarain@borchardlaw.com
    5   BORCHARD & CALLAHAN, APC
        25909 Pala, Suite 300
    6   Mission Viejo, CA 92691
    7   Telephone: (949) 457-9505
        Facsimile: (949) 457-1666
    8
    9   Attorneys for Defendant
        DENNY LAKE individually and also
   10   d/b/a JD United, U.S. Crush,
   11   Advocacy Division, Advocacy
        Department, Advocacy Agency, and
   12   Advocacy Program
   13
   14                       UNITED STATES DISTRICT COURT

   15                      CENTRAL DISTRICT OF CALIFORNIA

   16
   17   FEDERAL TRADE COMMISSION,                Case No.: SACV 15-00585-CJC (JRPx)
   18               Plaintiff,
   19         v.
                                                 DEFENDANT DENNY LAKE’S
                                                 OPPOSITION TO ISSUANCE OF
   20   DENNY LAKE individually and also         PRELIMINARY INJUNCTION
        d/b/a JD United, U.S. Crush,
   21
        Advocacy Division, Advocacy
   22   Department, Advocacy Agency, and
   23   Advocacy Program; CHAD
        CALDARONELLO (a/k/a Chad
   24   Carlson and Chad Johnson),
   25   individually and as an officer of C.C.
        Enterprises, Inc.; C.C.
   26   ENTERPRISES, INC. (also d/b/a
   27   HOPE Services, Trust Payment
        Center, and Retention Divisions);        Date: May 13, 2015
   28                                            Time: 4:30 p.m.
        DEREK NELSON (a/k/a Dereck               Courtroom: 9B

                                                 1
Case 8:15-cv-00585-CJC-JPR Document 62 Filed 05/08/15 Page 2 of 19 Page ID #:7960


    1   Wilson), individually and as an officer
        of D.N. Marketing, Inc.; D.N.
    2   MARKETING, INC. (also d/b/a, HAMP
    3   Services and Trial Payment
        Processing); BRIAN PACIOS (a/k/a
    4   Brian Barry and Brian Kelly); JUSTIN
    5   MOREIRA (a/k/a Justin Mason, Justin
        King, and Justin Smith),
    6
    7              Defendants, and

    8   CORTNEY GONSALVES,
    9              Relief Defendant.
   10
   11   ///
   12   ///
   13   ///

   14   ///
        ///
   15
        ///
   16
        ///
   17   ///
   18   ///
   19   ///
   20   ///
        ///
   21
        ///
   22
        ///
   23
        ///
   24   ///
   25   ///
   26   ///

   27   ///
        ///
   28
        ///

                                                  2
Case 8:15-cv-00585-CJC-JPR Document 62 Filed 05/08/15 Page 3 of 19 Page ID #:7961


    1                             TABLE OF CONTENTS

    2
         I.     INTRODUCTION………………………………………………… 5
    3
    4    II.    BACKGROUND…………………………………………………                                   5

    5
         III.   ARGUMENT……………………………………………………… 8
    6
    7           A.   DEFENDANT LAKE NEITHER PARTICIPATED NOR

    8                ASSISTED IN THE HOPE DEFENDANTS’ ALLEGED
                     SCAM……………………………………………………….                                 8
    9
   10           B.   THE ASSET FREEZE REQUESTED BY PLAINTIFF

   11                IS EXCESSIVE……………………………………………. 10

   12                 1.   The Scope Of The Asset Freeze Exceeds That

   13                      Which Is Related Or Necessary To Protect The

   14                      Dissipation Of Claimed Assets……………………… 10

   15                 2.    Any Freeze of Defendant Lake’s Assets Should

   16                       Have a Relationship to Relief Requested and His
                            Comparative Culpability……………………...                  13
   17
   18                      a.   Defendant Lake Is Not Jointly and Severally

   19                           Liable ………………………………………….. 13

   20                      b.   The Complete Asset Freeze Should Be

   21                           Entirely Lifted, or in the Alternative, the

   22                           Restriction Should Be Minimized in

   23                           Proportion to Defendant’s Liability and those

   24                      Assets Which are Likely to be Dissipated…… 15
        IV.     CONCLUSION…………………………………………………… 16
   25
   26
   27
   28


                                              3
Case 8:15-cv-00585-CJC-JPR Document 62 Filed 05/08/15 Page 4 of 19 Page ID #:7962


    1                                 TABLE OF AUTHORITIES

    2   Cases:

    3   Burlington Northern and Santa Fe Ry. Co. v. U.S. (2009) 556 U.S. 559…..…..…14

    4   DeBeers Consolidated Mines, LTD. v. United States (1945) 325 U.S. 212…..10, 11

    5   Grupo Mexicano de Desarrollo S.A. v. Alliance Bond Fund, Inc. (1999)

    6         527 U.S. 308…………………………………………………………..……12

    7   FTC v. Chapman, 714 F.3d 1211 (10th Cir. 2013)…………………………...……9

    8   Johnson v. Couturier, 572 F.3d 1067 (9th Cir. 2009)…………………………….15

    9   Reebok Intern., Ltd. v. Marnatech Enterprises, Inc. 970 F.2d 552

   10         (9th Cir. 1992)………………………………………………………….10, 11

   11   Republic of the Philippines v. Marcos, 862 F.2d 1355

   12         (9th Cir. 1988)……………………………………………………………...11

   13   United Alloys, Inc. v. Baker, 797 F.Supp.2d 974 (C.D. Cal. 2011)…………...13, 14

   14   United State v. Chem-Dyne Corp., 572 F. Supp. 802 (S.D. Ohio 1983)………….14

   15   Statutes:

   16   12 C.F.R. §1015.6…………………………………………………………………..8

   17   Miscellaneous:

   18   RESTATEMENT (SECOND) OF TORTS, § 433A,

   19         comment on Subsection (2) (1976)…...........................................................14

   20
   21
   22
   23
   24
   25
   26
   27
   28


                                                        4
Case 8:15-cv-00585-CJC-JPR Document 62 Filed 05/08/15 Page 5 of 19 Page ID #:7963


    1                  MEMORANDUM OF POINTS AND AUTHORITIES
    2            Defendant DENNY LAKE individually and also d/b/a JD United, U.S.
    3   Crush, Advocacy Division, Advocacy Department, Advocacy Agency, and
    4   Advocacy Program, hereby Opposes the Plaintiff’s request for Issuance of
    5   Preliminary Injunction as follows:
    6      I.       INTRODUCTION
    7            Plaintiff Federal Trade Commission’s moving papers explain a scam in
    8   which defendant Brian Pacios, under a court order banning him from mortgage
    9   relief services, orchestrates a means with certain co-conspirators of defrauding
   10   homeowners in need of such services. If the allegations are proven true, the
   11   conduct is suitable for injunction. However, in casting its net to protect the
   12   homeowners, the FTC also catches Denny Lake, whose affiliated role with HOPE
   13   Services was not to participate in any prohibited or harmful activity, but to
   14   genuinely assist homeowners in obtaining mortgage assistance relief. As an
   15   independent third party affiliate, Denny Lake and his Advocacy Department were
   16   uninvolved and ignorant of HOPE’s activities. In applying the standard of
   17   “substantial assistance” in order to impute liability to Denny Lake, and his
   18   comparative responsibility for the harm alleged caused by this scheme, the
   19   requested preliminary injunction is overbroad in its scope.
   20      II.      BACKGROUND
   21            In his brief background in the business of assisting consumers in obtaining
   22   mortgage loan modification, Denny Lake developed what he refers to as the
   23   advocacy program, which is a particular strategy of assisting consumers in need of
   24   home loan modifications in achieving results. The advocacy program emphasizes
   25   the use of making complaints or appeals for assistance to government agencies,
   26   politicians and regulatory entities that oversee the banks, in order to garner
   27   attention and expedite a file review by the bank. The process was developed by
   28   Lake through experience, contacts, and trial and error, and referral sources were


                                                    5
Case 8:15-cv-00585-CJC-JPR Document 62 Filed 05/08/15 Page 6 of 19 Page ID #:7964


    1   generated by word-of-mouth. The advocacy program became an independent
    2   business model, which became known as “JD United” or the “Advocacy
    3   Department,” working with lawyers and mortgage assistors on a part-time basis.
    4   The business operation as a sole proprietorship was never merged into a business
    5   entity, not for the purpose of hiding assets as suggested in the moving papers
    6   (Plaintiff’s Memorandum in Support of Ex Parte Application (“Plaintiff’s
    7   Memorandum”), at p. 49 – 50), but because the business was in the process of
    8   growing from the genesis of a one-man operation.
    9         Lake was introduced to “Brian Barry” and “Chad Carlson” in January 2014,
   10   and became a third-party affiliate of their business CC Enterprises, which operated
   11   as HOPE Services (“HOPE”). The Advocacy Department was referred loan
   12   modification files from HOPE Services, to apply its advocacy program and process
   13   paperwork. The Advocacy Dept. was paid $800 per file by HOPE. Lake did not
   14   take any fees from consumers, nor was he privy to the engagement relationship
   15   between HOPE and its clients.
   16         Other than this affiliate agreement, Lake had no relationship with HOPE or
   17   its principals, was uninvolved in and unaware of their business practices, and did
   18   not share in any profits of their business. Lake was not involved in consumer
   19   intake, and was not aware of nor did he advance any of the violative
   20   representations being made. Lake did not even know the true names of Brian
   21   Pacios and Chad Caldaronello until recently. Lake’s isolated role as a third-party
   22   affiliate was to advocate and process consumer files, for $800 per file.
   23         In December 2014, Brian Pacios and Chad Caldaronello advised Lake that
   24   they were abandoning HOPE to start a mortgage business. Pacios and
   25   Caldaronello further advised that they would be involved in assisting a friend of
   26   theirs in opening HP Services in its place, and wanted Lake’s Advocacy
   27   Department to affiliate, which Lake agreed under the same structure as HOPE.
   28   Lake’s affiliated with HP Services until it was shut down in April 2015.


                                                  6
Case 8:15-cv-00585-CJC-JPR Document 62 Filed 05/08/15 Page 7 of 19 Page ID #:7965


    1         The role of the Advocacy Department in its affiliation with CC Enterprises
    2   and HP Services was to have complaints composed and submitted to government
    3   departments/officials and banks on behalf of clients, and assemble and submit
    4   requested financial packages to consumer’s lenders for the purpose of obtaining a
    5   mortgage loan modification. In fact, these letter that the Plaintiff refers to as
    6   “worthless” (Plaintiff’s Memorandum, 14:6) were quite effective in their approach.
    7   (See attached Declaration of Denny Lake, at para. 23 and 24, and Exhibit A and
    8   B).
    9         Further, the Advocacy Department’s processing function, as facilitated by
   10   the complaint advocacy process, had a historical success rate of securing loan
   11   modifications for 72% of completed consumer files. (See attached Declaration of
   12   Denny Lake, at para. 25, and Exhibit C). The Plaintiff creates a negative inference
   13   that the Advocacy Department does nothing with its files but send complaints and
   14   reassure consumers that a modification was pending when it was not. This is not
   15   the case. The Advocacy Department was performing the work it was retained to
   16   do, and was obtaining results. (See attached Declaration of Denny Lake, at para.
   17   23 and 24, and Exhibit A and B). Loan modifications would often take six months
   18   or more to resolve. Of the $800 per file that Lake would receive from HOPE or
   19   HP, he would pay his employees and overhead. Lake was ignorant of any non-
   20   compliant or fraudulent scheme being perpetrated by HOPE or HP, as he was also
   21   convinced by HOPE and HP of their legitimacy. Lake believed he was providing a
   22   service to their clients, in did so in many instances.
   23         The service of the TRO in this matter on Lake was the first instance that he
   24   learned of the practices of Pacios, Caldaronello and other individuals Lake had
   25   either never met or knew only by first name as HOPE employees. Given the
   26   allegations and the content of the moving papers, Lake has no intention of
   27   participating in any mortgage relief services in any manner as proscribed by the
   28   TRO. However, the relief being sought herein as against Lake is excessive, given


                                                   7
Case 8:15-cv-00585-CJC-JPR Document 62 Filed 05/08/15 Page 8 of 19 Page ID #:7966


    1   his tangential relationship with the principal wrongdoers and degree of fault. Lake
    2   requests that the Court deny the Preliminary Injunction outright, as the Plaintiff is
    3   not likely to succeed in proving the requisite level of Lake’s participation in the
    4   misconduct, and any offending conduct is not likely to continue. Further, and
    5   alternatively, Lake requests that the Court eliminate or limit the freeze of his
    6   assets, to allow him to use his own money or borrow funds for his basic needs.
    7      III.   ARGUMENT
    8             A.    DEFENDANT LAKE NEITHER PARTICIPATED NOR
    9                   ASSISTED IN THE HOPE DEFENDANTS’ ALLEGED
   10                   SCAM
   11         Lake is not a direct participant in any scam or non-compliant behavior.
   12   Plaintiff is seeking to impose liability on Lake, for the purposes of this motion,
   13   based upon the “substantial assistance or support” language of 12 C.F.R. §1015.6.
   14   Namely, Plaintiff alleges that Lake knows or consciously avoids knowing that
   15   HOPE Services violates the MARS Rule’s advance fee ban, but substantially
   16   assists HOPE Services’ collection of improper advance fees anyway. (Plaintiff’s
   17   Memorandum, at p. 32:10 – 14).
   18         Lake was engaged by HOPE services to provide assistance to its homeowner
   19   consumers in obtaining mortgage loan modifications through his Advocacy
   20   Department, which Lake performed. Under Plaintiff’s theory of Lake’s substantial
   21   assistor liability, the Advocacy Department substantially assisted HOPE in
   22   collecting advance fees by “helping ensure victims keep making payment to
   23   HOPE...” by communicating with client’s lenders (Plaintiff’s Memorandum, at p.
   24   38:6 - 10) and “reinforcing the false impression that their modifications are moving
   25   forward” (Plaintiff’s Memorandum, at p. 38:19 – 21). Plaintiff contends that, by
   26   negative inference of the Advocacy Department performing work on consumer
   27   files, consumers do not realize that they have been defrauded by HOPE. Even if
   28   that inference could be proven to be true, it does not implicate Lake as a knowing


                                                   8
Case 8:15-cv-00585-CJC-JPR Document 62 Filed 05/08/15 Page 9 of 19 Page ID #:7967


    1   participant in any wrongdoing. Further, after files are transferred to the Advocacy
    2   Department, clients’ files are moving forward until they are terminated by a
    3   successful modification, decline, or the client’s termination of the process. No
    4   misrepresentations or false impressions were made in that regard; the Advocacy
    5   Department was advancing client files towards modification - exactly as they were
    6   retained to do. The Advocacy Department, and their performance of this particular
    7   service function, was isolated from HOPE’s marketing and other business
    8   activities. Thus, an equal inference could be made that Lake was mitigating the
    9   consequences of HOPE’s fraud, because that fraud was equally unbeknownst to
   10   Lake and the consumer, at HOPE’s design.
   11         In defining what constitutes “substantial assistance,” Plaintiff cites to FTC v.
   12   Consumer Health Benefits Ass’n, No. 10 CIV. 3551 ILG RLM, which states: “[]the
   13   threshold for what constitutes ‘substantial assistance’ is low: ‘there must be a
   14   connection between the assistance provided and the resulting violations of the core
   15   provisions of the TSR.’” Lake’s advocacy process does not result in HOPE’s
   16   violation of the MARS rule, nor are there any overt acts or representations by the
   17   Advocacy Department which would serve to assist in HOPE’s collection of
   18   advanced fees, which violation by HOPE occurred prior to the file being referred
   19   over to the Advocacy Department, according to Plaintiff’s explanation of the scam.
   20         In the case of FTC v. Chapman, 714 F.3d 1211, 1216 (10th Cir. 2013), also
   21   relied on by the Plaintiff, the court clarified the standard of “substantial
   22   assistance,” as not requiring a direct connection between the assistance and the
   23   violation, but rather something more that causal or incidental. However in that
   24   case, the court did ultimately find that the defendant provided substantial
   25   assistance by being an “integral part” of the scheme. Here, if HOPE’s scheme as
   26   described in the moving papers is to simply collect consumers’ money under false
   27   pretenses and not provide the promised services in exchange, then Lake/the
   28   Advocacy Department’s involvement was unnecessary. The violation occurred


                                                    9
Case 8:15-cv-00585-CJC-JPR Document 62 Filed 05/08/15 Page 10 of 19 Page ID #:7968


     1   prior to Lake being involved at all. While HOPE may have used The Advocacy
     2   Department as a ploy, Lake did not have that reciprocal intent. Lake was neither
     3   aware of HOPE’s platform, nor took any steps to further it.
     4             B.    THE ASSET FREEZE REQUESTED BY PLAINTIFF IS
     5                   EXCESSIVE
     6                   1. The Scope Of The Asset Freeze Exceeds That Which Is
     7                       Related Or Necessary To Protect The Dissipation Of
     8                       Claimed Assets
     9         The complete asset freeze requested by Plaintiff is excessive because several
    10   of the assets restricted are unrelated to a possible dissipation of the claimed assets.
    11   Plaintiff emphasizes that “courts often prohibit defendants from using ill-gotten
    12   gains to fund their defense.” (Plaintiff’s Memorandum, pg. 50:16 – 51:1). Plaintiff
    13   further states that “a defendant has no Sixth Amendment right to spend another
    14   person’s money …” (Plaintiff’s Memorandum, pg. 51:2 - 3), in which Plaintiff
    15   emphasizes the phrase “another person’s money” to bolster its argument. While
    16   Plaintiff’s position is clear that “money the individual Defendants hold belongs to
    17   the homeowners” (Plaintiff’s Memorandum, pg. 51: 4-5), it is unclear why Plaintiff
    18   has and continues to request by its motion a complete freeze of all of Lake’s assets,
    19   including lines of credit and money loaned to him by third parties, as these types of
    20   assets, even if available to Lake, do not belong to the homeowners and are
    21   unrelated to the underlying suit.
    22         In Reebok Intern., Ltd. v. Marnatech Enterprises, Inc., 970 F.2d 552 (9th
    23   Cir. 1992), the court discussed a distinguishable but applicable United States
    24   Supreme Court case, DeBeers Consolidated Mines, LTD. v. United States (1945)
    25   325 U.S. 212. DeBeers involved a suit under the Sherman Act and the Wilson
    26   Tariff Act against several corporations involved in mining gems and diamonds, in
    27   which Plaintiff was seeking to restrain future conduct and no money judgment was
    28   to be obtained. 325 U.S. at 215, 219. Reebok noted that according to DeBeers, an


                                                    10
Case 8:15-cv-00585-CJC-JPR Document 62 Filed 05/08/15 Page 11 of 19 Page ID #:7969


     1   asset freeze was impermissible “because it ‘dealt with a matter lying wholly
     2   outside the issues in the suit’ and ‘dealt with property in which in no circumstances
     3   can be dealt with in any final injunction that may be entered.’” (970 F.2d at 560
     4   (Citing DeBeers, 325 U.S. at 220)). Thus, “a district court does not have the
     5   equitable power to order the seizure of defendant’s assets when that provisional
     6   remedy is in no way related to the district court’s power to grant final relief.” Id. at
     7   561.
     8          It is true that Plaintiff seeks relief to “redress injury to consumers”…
     9   “including but not limited to, … the refund of monies paid, and the disgorgement
    10   of ill-gotten monies;” (Complaint, pg. 30: 3-6). Thereby, Plaintiff may argue that
    11   this matter is unlike DeBeers where a money judgment may be at issue, if the
    12   Court deems just and proper. Nonetheless the holding in DeBeers, specifically the
    13   holding that ordering an asset freeze is improper when dealing with property
    14   “wholly outside of the issues in the suit” and that “which in no circumstances can
    15   be dealt with in any final injunction” is applicable here.
    16          A complete freeze which encumbers particular assets such as lines of credits
    17   or unsecured money borrowed (or which may be borrowed) from third parties
    18   consequently freezes property which is outside of the underlying issue in the suit
    19   and property that would never be dealt with in ordering a final injunction or redress
    20   to consumers. (See also Republic of the Philippines v. Marcos, 862 F.2d 1355,
    21   1364 (9th Cir. 1988), in which Defendant acquired specific funds and real
    22   property, including bank accounts by way unlawful acts, including fraud and
    23   conspiracy, and the district court holding that freezing these assets was within the
    24   scope of the injunction as “the property [was] subject to [the court’s] Order.”
    25   (emphasis added)).
    26          According to Plaintiff, this suit and any equitable relief granted is necessary
    27   to “help redress victims.” (Plaintiff’s Memorandum, pg. 3: 8). Plaintiff’s goal is to
    28   disgorge all of the ill-gotten gains and restore as much of those ill-gotten gains to


                                                    11
Case 8:15-cv-00585-CJC-JPR Document 62 Filed 05/08/15 Page 12 of 19 Page ID #:7970


     1   the allegedly victimized consumers. Yet, Plaintiff proposes to restrict, amongst
     2   other restrictions, “Incurring charges or cash advances on any credit card, debit
     3   card, or checking card issues in the name, singly or jointly, of [Defendant Lake].”
     4   (TRO, pg. 19: 4-5). Additionally, Plaintiff proposes to restrict “Obtaining a
     5   personal or secured loan” and “Incurring liens or encumbrances on real property,
     6   personal property or other Assets in the name, singly or jointly, of [Defendant
     7   Lake].” (TRO, pg. 19: 6-8).
     8         Freezing charges on a line of credit card or cash advances on a debit or
     9   checking card surely fall outside of the category of ill-gotten gains, as these types
    10   of assets were not nor would be obtained by way of any conduct of Defendant’s
    11   Lake within the course of his involvement with the remaining defendants.
    12   Furthermore, a restriction on incurring liens or encumbrances on property which
    13   are unrelated to the underlying suit fall outside of any alleged ill-gotten gains by
    14   Defendant Lake. Plaintiff enters into a lengthy discussion on the standard applied
    15   to impose an asset freeze and whether that standard ought to be a “likelihood of
    16   dissipation” or a “possible of dissipation.” (Plaintiff’s Memorandum, pg.47:15-22,
    17   and pg. 48: 1-6). However, regardless which standard is legally applicable, there is
    18   little room for argument that assets such as credit card charges, cash advances,
    19   loans from third parties, or an by way of example, a lien on real property is
    20   possibly or has a likelihood to be dissipated. A court would lack the jurisdiction
    21   to mandate payment of any purported judgment against Defendant Lake by way of
    22   assets such as credit cards or third party loans unrelated to the issue at hand. (E.g.
    23   Grupo Mexicano de Desarrollo S.A. v. Alliance Bond Fund, Inc. (1999) 527 U.S.
    24   308, 333, where the court held that “the District Court had no authority to issue a
    25   preliminary injunction preventing petitioners from disposing of their assets
    26   pending adjudication of respondents' contract claim for money damages..”)
    27         Therefore, a complete freeze of Defendant’s Lake assets which are not of the
    28   same character as to that which may be granted finally is excessive and in no way


                                                    12
Case 8:15-cv-00585-CJC-JPR Document 62 Filed 05/08/15 Page 13 of 19 Page ID #:7971


     1   protects the dissipation of claimed assets as alleged by Plaintiff. Lake asks the
     2   Court to strike the total asset freeze, or alternatively those items unrelated to the
     3   claimed assets at issue in this matter.
     4                      2. Any Freeze Of Defendant Lake’s Assets Should Have A
     5                          Relationship To Relief Requested And His Comparative
     6                          Culpability
     7             The complete asset freeze is also excessive as the freeze bears a
     8   disproportionate relationship to the Lake’s potential liability. Not only is the
     9   application of joint and severally liability improper, in that, at most, Defendant
    10   Lake is comparatively liable, but the complete asset freeze should be either lifted
    11   in its entirety or minimized to reflect Defendant Lake’s proportionate liability with
    12   respect to those assets which are likely to be dissipated.
    13                          a. Defendant Lake Is Not Jointly And Severally Liable
    14             Plaintiff seeks to enjoin defendants on the basis of violating the MARS rule
    15   and TSR, both regulations of which are silent on the remedy with respect to a
    16   defendant found to have substantially assisted or consciously avoided others
    17   violation of the same. More specifically, neither set of regulations set forth the
    18   standard or authority to order joint and several liability as requested by Plaintiff’s
    19   Complaint against Defendant Lake. (Plaintiff’s Complaint, pg. 23:19-20; pg.28: 7-
    20   8). Therefore, the federal common law principles of joint and several liability
    21   apply in determining whether Defendant Lake should be jointly and severally
    22   liable.
    23             It is well established that “when two or more persons acting independently
    24   caused a distinct or single harm for which there is a reasonable basis for division
    25   according to the contribution of each, each is subject to liability only for the
    26   portion of the total harm that he has himself caused …. But where two or more
    27   persons cause a single and indivisible harm, each is subject to liability for the
    28   entire harm.” United Alloys, Inc. v. Baker, 797 F.Supp.2d 974, 998 (C.D. Cal.


                                                      13
Case 8:15-cv-00585-CJC-JPR Document 62 Filed 05/08/15 Page 14 of 19 Page ID #:7972


     1   2011) citing United State v. Chem-Dyne Corp. (1983) 572 F. Supp. 802, 810 (S.D.
     2   Ohio). Thus, in order to avoid joint and several liability, a defendant has the burden
     3   of proving that the harm is capable of apportionment. Burlington Northern and
     4   Santa Fe Ry. Co. v. U.S. (2009) 556 U.S. 559,614. The Restatement (Second) of
     5   Torts, § 433A (1976), comment on Subsection (2) further aides that apportionment
     6   is inappropriate in cases where the harm is not capable of reasonable, logical, or
     7   practical division.
     8         Applying these common law principals, Lake should not be held jointly and
     9   severally liable as proposed by Plaintiff. Plaintiff asserts, “there are approximately
    10   432 victims who lost mortgage payments or reinstatement fees to the
    11   defendants….” (Plaintiff’s Memorandum, pg. 2: 21-22). Additionally, Plaintiff
    12   asserts that “the average loss per victim is more than $4,300.” (Plaintiff’s
    13   Memorandum, pg. 2: 24). Therefore, Plaintiff implies a total loss to victims in the
    14   sum of approximately $1,857,600.
    15         If a court were to find that Defendant Lake substantially assisted in any
    16   violation by the remaining defendants, Defendant Lake could only be subject to a
    17   judgment according to a portion of the total harm of $1,857,600. Defendant Lake
    18   was compensated $800 on a per file basis, the majority of which was not retained
    19   by Lake, but rather dispersed to employees or for overhead. Thus, if Plaintiff can
    20   prove that the source of the $800 was generated from money received by the
    21   homeowners, which is not established or addressed in the moving papers, Lake’s
    22   liability could not fairly be apportioned more than $800 per file, at most. Since a
    23   court can reasonably and logically divide and apportion a definite figure as to
    24   Defendant’s Lake liability, Lake would not be held to be jointly and severally
    25   liable for the total sum of whatever judgment may be entered.
    26   ///
    27   ///
    28   ///


                                                   14
Case 8:15-cv-00585-CJC-JPR Document 62 Filed 05/08/15 Page 15 of 19 Page ID #:7973


     1                           b. The Complete Asset Freeze Should Be Entirely Lifted,
     2                              Or in the Alternative, the Restriction Should Be
     3                              Minimized in Proportion to Defendant’s Liability and
     4                              those Assets Which are Likely to be Dissipated
     5         In light Defendant’s proportionate liability, Lake requests that the Court
     6   unfreeze his assets in their entirety, or in the alternative, minimize the restrictions,
     7   including restrictions on the use of credit cards, cash advances of credit cards, debit
     8   or checking cards, third party loans, and liens on real or personal property. While a
     9   complete asset freeze would be justified because of Lake’s limited potential
    10   liability and the Plaintiff’s overreaching restraining order, if the court were to
    11   decide to minimize the restrictions, a partial asset freeze could be fashioned
    12   accordance with the to the relief likely awarded as a judgment.
    13         As briefly discussed above, Plaintiff’s moving papers include a lengthy
    14   discussion in an effort to argue the applicability of a lower standard of finding a
    15   dissipation of assets to determine whether an asset freeze is appropriate. However,
    16   Plaintiff entirely dismisses and dances around the clear finding of the court in
    17   Johnson v. Couturier 572 F.3d 1067, 1085, footnote 11(9th Cir. 2009), that the
    18   “Sahni decision is overruled” with respect to applying “a possibility of dissipation
    19   of assets” standard. Plaintiff’s basis for this bold argument is that “Johnson limited
    20   Sahni in a private context where the court could not presume ‘irreparable harm.’”
    21   (Plaintiff’s Memorandum, page 48, lines 12-13.) However, this Defendant has not
    22   been able to locate where in the Johnson opinion, the condition of a “private
    23   context where court could not presume irreparable harm” exists, mainly because no
    24   such condition existed when the Johnson completely overruled this aspect of Sahni
    25   with very little discussion, if any. Therefore, the “likelihood of dissipation”
    26   standard must be applied when justifying an asset freeze, especially when
    27   justifying a complete asset freeze.
    28


                                                    15
Case 8:15-cv-00585-CJC-JPR Document 62 Filed 05/08/15 Page 16 of 19 Page ID #:7974


     1         Nonetheless, as stated above, regardless of the standard applied in justifying
     2   an asset freeze, there is no possibility or likelihood that lines of credit, third party
     3   loans, or liens on real or personal property are any types of assets that are going to
     4   be dissipated at the time of a final order. Therefore, in addition to the above
     5   reasoning establishing Defendant Lake’s proportional liability, the complete asset
     6   freeze should either be completely unfrozen, or in the alternative, such restrictions
     7   should be minimized.
     8      IV.    CONCLUSION
     9         Denny Lake has found himself erroneously on the wrong side of this fight,
    10   and is now being sued by the same entity which he formerly looked to in
    11   advocating for assistance on behalf of his clients. Lake’s relationship with HOPE
    12   was as a third-party affiliate, not an active participant in any fraudulent scheme,
    13   but a hired service provider. The conduct of the HOPE defendants should not be
    14   impute to Lake, as his conduct neither meets the standard of “substantial
    15   assistance,” nor is anywhere comparatively near the culpability of the remaining
    16   defendants. Accordingly, the conduct which the Plaintiff seeks to restrain as to
    17   Denny Lake is unnecessary and excessive.
    18
    19
    20
    21   DATED: May 8, 2015
                                                  By: /s/ Janelle M. Dease
    22                                            THOMAS J. BORCHARD
    23                                            SBN 104008; tborchard@borchardlaw.com
                                                  JANELLE M. DEASE
    24                                            SBN 226198; jdease@borchardlaw.com
    25                                            SABRINA C. NARAIN
                                                  SBN: 299471; snarain@borchardlaw.com
    26
    27
    28


                                                     16
Case 8:15-cv-00585-CJC-JPR Document 62 Filed 05/08/15 Page 17 of 19 Page ID #:7975


     1                                      Attorneys for Defendant
                                            DENNY LAKE individually and also
     2                                      d/b/a JD United, U.S. Crush,
     3                                      Advocacy Division, Advocacy
                                            Department, Advocacy Agency, and
     4                                      Advocacy Program
     5
     6
     7
     8
     9
    10
    11
    12
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28


                                              17
Case 8:15-cv-00585-CJC-JPR Document 62 Filed 05/08/15 Page 18 of 19 Page ID #:7976




                                 PROOF OF SERVICE

            I, the undersigned, certify and declare that I am over the age of 18 years,
   employed in the County of Orange, State of California, and not a party to the
   above-entitled cause. My business address is 25909 Pala, Suite 300, Mission
   Viejo, CA.

         On May 8, 2015, I caused a true and correct copy of
   DEFENDANT DENNY LAKE’S OPPOSITION TO ISSUANCE OF
   PRELIMINARY INJUNCTION
   to be served as follows:
   Via ECF:
   Jonathan Cohen
   Miriam R. Lederer
   Federal Trade Commission
   600 Pennsylvania Ave., NW, CC-9528
   Washington, DC 20580
   Andrew W. Robinson
   Daniel M. Benjamin
   McNamara Benjamin LLP
   501 West Broadway, Suite 2020
   San Diego, CA 92101


   By Electronic Mail:

   Brian Pacios
   bpacios2012@yahoo.com

   Chad Caldaronello
   chadchomeloans@cox.net

   Cortney Gonsalves
   autumnrosesmommy@yahoo.com

   Justin Moreira
   justinmoreira07@yahoo.com

   Derek Nelson
   dnelson222@gmail.com
Case 8:15-cv-00585-CJC-JPR Document 62 Filed 05/08/15 Page 19 of 19 Page ID #:7977



               Executed on May 8, 2015, at Mission Viejo, CA. I hereby certify
   under the penalty of perjury that the foregoing is true and correct.
         /s/ Janelle M. Dease
         Declarant
